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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                            CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA,                       §
                                                §
       Plaintiff/Respondent,                    §
v.                                              §          Cr. No. C-06-380 (6)
                                                §          C.A. No. C-08-377
CATARINO GUTIERREZ, JR.,                        §
                                                §
       Defendant/Movant.                        §


              FINAL JUDGMENT OF DISMISSAL WITHOUT PREJUDICE

       The Court enters final judgment dismissing without prejudice defendant Catarino

Gutierrez, Jr.’s motion pursuant to 28 U.S.C. § 2255.


       It is so ORDERED this 2nd day of December, 2008.



                                            ____________________________________
                                                        Janis Graham Jack
                                                    United States District Judge
